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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 21-24004-CIV-ALTONAGA/Torres

  BENITO ANTONIO MARTINEZ OCASIO; et al.,

         Plaintiffs,
  v.

  UNBRANDED BREWING COMPANY,

        Defendant.
  ____________________________________________/

                        ORDER ADMINISTRATIVELY CLOSING CASE

         THIS CAUSE is before the Court on the parties’ Joint Discovery Plan and Conference

  Report [ECF No. 18], filed on December 17, 2021, indicating the parties have reached an

  agreement and “are in the process of preparing settlement documents to file with the Court.” (Id.

  1). The Court having carefully reviewed the file, and being otherwise fully advised, it is hereby

         ORDERED AND ADJUDGED as follows:

         1. The above-styled action is administratively CLOSED without prejudice to the parties

  to file a stipulation for dismissal within sixty (60) days of the date of this Order.

         2. If the parties fail to complete the expected settlement, either party may request the Court

  to reopen the case.

         3. The Clerk shall CLOSE this case for administrative purposes only. Any pending

  motions are DENIED AS MOOT.

         DONE AND ORDERED in Miami, Florida, this 20th day of December, 2021.


                                                   _______________________________________
                                                   CECILIA M. ALTONAGA
                                                   CHIEF UNITED STATES DISTRICT JUDGE
  cc:    counsel of record
